881 F.2d 1076
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.GOGEBIC-IRON WASTEWATER AUTHORITY, a Michigan public bodycorporation, Plaintiff-Appellant,v.CITY OF HURLEY, WISCONSIN, a Wisconsin municipal corp.,Defendant-Appellee.
    No. 88-1600.
    United States Court of Appeals, Sixth Circuit.
    Aug. 7, 1989.
    
      BEFORE KRUPANSKY and RYAN, Circuit Judges, and LIVELY, Senior Circuit Judge.
    
    ORDER
    
      1
      In accordance with the agreement reached between the parties in settlement discussions conducted pursuant to Sixth Circuit Rule 18, the parties jointly move to remand this cause to the United States District Court for the Western District of Michigan, for determination of the parties' motion filed pursuant to Rule 60(b)(6), Federal Rules of Civil Procedure.
    
    
      2
      Upon consideration of the motion and further considering Judge Bell's order of June 26, 1989,
    
    
      3
      IT IS ORDERED that the motion be and hereby is granted.  The cause is remanded to the District Court for further proceedings.  See First National Bank of Salem, Ohio v. Hirsch, 535 F.2d 343 (6th Cir.1976).
    
    